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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


THE STATE OF OREGON, THE STATE OF                   Case No. 1:25-cv-00077-GSK-TMR-JAR
ARIZONA, THE STATE OF COLORADO,
THE STATE OF CONNECTICUT, THE                       PLAINTIFFS' SUPPLEMENTAL BRIEF IN
STATE OF DELAWARE, THE STATE OF                     SUPPORT OF SUMMARY JUDGMENT
ILLINOIS, THE STATE OF MAINE, THE
STATE OF MINNESOTA, THE STATE OF
NEVADA, THE STATE OF NEW MEXICO,
THE STATE OF NEW YORK, and THE
STATE OF VERMONT,

              Plaintiffs,

       v.

DONALD J. TRUMP, in his capacity as
President of the United States;
DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her official
capacity as Secretary of the Department of
Homeland Security; UNITED STATES
CUSTOMS AND BORDER PROTECTION;
PETER R. FLORES, in his official capacity as
Acting Commissioner for U.S. Customs and
Border Protection; and THE UNITED
STATES,

              Defendants.




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                                           I. INTRODUCTION

           As the plaintiff States explain in their Memorandum in support of their Motion for

    Preliminary Injunction, ECF No. 14 (“States’ PI Memo”), the International Emergency

    Economic Powers Act (IEEPA) does not grant the President unlimited authority to impose tariffs

    on any country at any rate for any time interval he wants. Congress did not specifically grant the

    President any power to impose tariffs in IEEPA. And even if a President may impose some

    tariffs under IEEPA’s authority to “regulate … importation,” the President may do so only to

    “deal with” an “unusual and extraordinary threat.” 50 U.S.C. §§ 1702(a)(1)(B), 1701(a). For

    either reason, the tariffs imposed by President Trump’s multiple executive orders relying on

    IEEPA (“IEEPA Tariff Orders” 1) must be set aside as a matter of law. Accordingly, the States
    are entitled to summary judgment.

                             II.    LEGAL AND FACTUAL BACKGROUND

           The legal and factual background of the IEEPA Tariff Orders is detailed in the States’ PI

    Memo, as updated here. The facts material to the legality of the IEEPA Tariff Orders are largely

    drawn from the President’s executive orders themselves and regardless are not genuinely in

    dispute. The States have also attached an annex of undisputed material facts to this brief, as

    required by Rule 56.3.

           On May 12, 2025, the United States and the People’s Republic of China (“China”) jointly

    announced a reduction of the tariffs on imports from China under the Worldwide Tariff Order

    from 125 percent to 10 percent for 90 days beginning May 14. (See Second Declaration of Brian
    1
     The States challenge Executive Order 14193, “Imposing Duties To Address the Flow of Illicit
    Drugs Across Our Northern Border,” 90 Fed. Reg. 9113 (“Canada Tariff Order”); Executive
    Order 14194, “Imposing Duties To Address the Situation at Our Southern Border,” 90 Fed. Reg.
    9117 (“Mexico Tariff Order”); Executive Order 14195, “Imposing Duties To Address the
    Synthetic Opioid Supply Chain in the People’s Republic of China,” 90 Fed. Reg. 9121 (“China
    Tariff Order”); and Executive Order 14257, “Regulating Imports With a Reciprocal Tariff To
    Rectify Trade Practices That Contribute to Large and Persistent Annual United States Goods
    Trade Deficits,” 90 Fed. Reg. 15041 (“Worldwide Tariff Order”), each as amended (collectively,
    “IEEPA Tariff Orders”), and the tariffs imposed pursuant to those orders (“IEEPA Tariffs”).

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    Simmonds Marshall, Exs. H, I.) The underlying basis of both the emergency declaration (trade

    deficits) and the purported legal authority to impose tariffs (IEEPA) remain unchanged. That

    agreement also leaves unchanged the tariffs imposed under the China Tariff Order. Thus, for the

    90-day period of the agreement, the additional tariffs imposed under IEEPA are expected to be

    30 percent for most imports from China.

           Meanwhile, on May 7, the Chair of the Federal Reserve reported on the import of the

    Administration’s tariff policy actions on the U.S. economy: “If the large increases in tariffs that

    have been announced are sustained, they are likely to generate a rise in inflation, a slowdown in

    economic growth, and an increase in unemployment.” (See Second Marshall Decl., Ex. J at 3.)

    He also reported that “[n]ear-term measures of inflation expectations have moved up, as reflected

    in both market- and survey-based measures.” (Id. at 2.) In addition, he said that “[s]urveys of

    households and businesses … report a sharp decline in sentiment and elevated uncertainty about

    the economic outlook, largely reflecting trade policy concerns.” (Id. at 1.)

                                      III.      LEGAL STANDARD

           Summary judgment is appropriate “if the movant shows that there is no genuine dispute

    as to any material fact and the movant is entitled to judgment as a matter of law.” U.S. Ct. Int’l

    Trade R. 56(a). “A nonmoving party establishes that there is a genuine dispute of material fact

    only if the evidence is such that a reasonable jury could return a verdict for the nonmoving

    party.” Aspects Furniture Int’l, Inc. v. United States, 42 F. 4th 1366, 1369 (Fed. Cir. 2022)

    (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248–49 (1986)). “A party asserting that a

    fact cannot be … genuinely disputed must support the assertion by … citing to particular parts of

    materials in the record, including … documents … or declarations ….” U.S. Ct. Int’l Trade R.

    56(c)(1)(A).




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                                           IV.       ARGUMENT

    A.      The States are entitled to judgment as a matter of law.
            The core issues in this case are legal, not factual. The material facts about the tariffs are

    not in genuine dispute. The dispute is whether the President has the legal authority to impose

    those tariffs. As the plaintiff States explained in detail in their motion for a preliminary

    injunction, IEEPA does not authorize the President to impose any tariffs, as the text, context, and

    history show. And even if IEEPA granted a President limited authority to impose some tariffs or

    duties, it would not grant authority to impose tariffs as sweeping or based on the President’s

    whim.

            First, the text, context, and history of IEEPA do not show a clear intent to authorize the

    imposition of tariffs. IEEPA does not specifically grant the President the power to impose tariffs.

    (States’ PI Memo at 15–17.) If Congress had intended to create that specific Presidential

    authority—as it has in numerous other tariff statutes—it would have done so expressly. And

    IEEPA’s history shows that Congress intended to limit Presidential emergency economic powers

    and leave for other legislation a President’s authority to respond to specific trade problems. (See

    States’ PI Memo at 16–17 (describing how Congress intended to create Presidential powers more

    limited in scope than predecessor statute and passed Section 122 of the Trade Act of 1974 to

    create power to impose limited duties in response to balance-of-payment problems).) At the very

    least, if Congress had intended to create unbounded Presidential authority to impose any tariff on

    any country, it would have expressed that intent clearly. The lack of any clear intent shows that

    President Trump’s reading of IEEPA must be wrong. (See States’ PI Memo at 18–19).

            Second, even if IEEPA otherwise authorized tariffs to “deal with” unusual and

    extraordinary threats, 50 U.S.C. § 1701(a), the IEEPA Tariff Orders do not satisfy those

    requirements. To begin, President Trump has failed to identify “an unusual and extraordinary”

    threat for the Worldwide IEEPA Tariffs. (See States’ PI Memo at 22–23.) Longstanding,


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    persistent trade deficits cannot be “unusual” or “extraordinary.” Nor does the imposition of

    arbitrary tariffs on every single U.S. trading partner “deal with” that threat as IEEPA requires.

    (See States’ PI Memo at 23–25). Similarly, President Trump’s IEEPA tariffs on Canada, Mexico,

    and China do not “deal with” the identified threat of curtailing drug trafficking or addressing the

    fentanyl crisis. (See States’ PI Memo at 25–26.) United States v. Yoshida Int’l, Inc., confirms that

    conclusion in holding that, if a President has any authority to impose tariffs as an emergency

    economic power, that authority is limited to temporary duty surcharges that do not exceed

    congressionally approved tariff rates. See 526 F.2d 560, 577, 583 (C.C.P.A. 1975) (observing

    that “[t]he declaration of a national emergency is not a talisman enabling the President to rewrite

    the tariff schedules”). President Trump’s IEEPA Tariffs are based on a claim of power that

    IEEPA does not support and no other President has exercised.

    B.     The Court should enter a permanent injunction and declaratory judgment.
           Because there is no genuine dispute about the material facts, this Court should grant

    summary judgment to the plaintiff States on all counts of the complaint and award their

    requested remedies.

           1.      The Court should permanently enjoin enforcement of the IEEPA Tariffs.

           The Court should enter an injunction, permanently barring the United States, the U.S.

    Department of Homeland Security and its Secretary Kristi Noem, U.S. Customs and Border

    Protection and its Acting Commissioner Peter R. Flores, and others in active concert or

    participation with them, from implementing the IEEPA Tariffs.

           The standards for preliminary and permanent injunctions are “essentially the same.”

    Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 546 n.12 (1987); accord Winter v. Nat.

    Res. Def. Council, Inc., 555 U.S. 7, 32 (2008). The only distinction is that, for a permanent

    injunction, the plaintiff must establish “actual success” on the merits, as opposed to a likelihood

    of success. Amoco Prod. Co., 480 U.S. at 546 n.12. Thus, in deciding whether to issue a


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    permanent injunction, “the court must consider whether (1) the plaintiff has succeeded on the

    merits, (2) the plaintiff will suffer irreparable harm if the court withholds injunctive relief, (3) the

    balance of hardships to the respective parties favors the grant of injunctive relief, and (4) the

    public interest is served by a grant of injunctive relief.” Centech Grp., Inc. v. United States, 554

    F.3d 1029, 1037 (Fed. Cir. 2009); see also Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139,

    156–57 (2010) (considering whether “remedies available at law, such as monetary damages, are

    inadequate to compensate for that injury”).

            The States have demonstrated that they are entitled to judgment as a matter of law,

    thereby satisfying the first criteria for a permanent injunction. See Centech Grp., Inc., 554 F.3d

    at 1037. And, for the reasons set forth in the States’ PI Memo, the remaining criteria militate in

    favor of a permanent injunction. The States have suffered, and will continue to suffer, irreparable

    harm absent an injunction, (see States’ PI Memo at 8–14, 29–26), and “[t]he public interest is

    served by ensuring that governmental bodies comply with the law, and interpret and apply trade

    statutes uniformly and fairly,” (see States’ PI Memo at 36–37). Am. Signature, Inc. v. United

    States, 598 F.3d 816, 830 (Fed. Cir. 2010); California Steel Indus., Inc. v. United States, 745 F.

    Supp. 3d 1287, 1304 (Ct. Int’l Trade 2024) (holding that “the government has no legitimate

    interest in collecting duties to which it has no legal claim” (cleaned up; internal quotations

    omitted)); Oman Fasteners, LLC v. United States, No. 22-00348, 2023 WL 2233642, at *13 (Ct.

    Int’l Trade Feb. 15, 2023), aff’d, 125 F. 4th 1068 (Fed. Cir. 2025) (granting permanent injunction

    and finding that “government ha[d] no legitimate interest” in collecting duties deemed unlawful);

    see also Solar Energy Indus. Assoc. v. United States, No. 20-03941, 2025 WL 1341888, at *9

    (Ct. Int’l Trade May 8, 2025) (quoting United States v. W. T. Grant Co., 345 U.S. 629, 633

    (1953) (“The purpose of an injunction is to prevent future violations[.]”).

            Any disadvantage the federal government may suffer in ongoing trade negotiations, see

    Executive Order 14266, 90 Fed. Reg. 15625 (Apr. 9, 2025), is the direct result of the President’s


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    unlawful actions and cannot justify denying relief here. See, e.g., Solar Energy Indus. Assoc.,

    No. 20-03941, 2025 WL 1341888, at *8 (denying federal government equitable relief where the

    government’s illegal conduct “caused the very harm from which” it sought relief); Atlas Powder

    Co. v. Ireco Chemicals, 773 F.2d 1230, 1231 (Fed. Cir. 1985) (rejecting request in patent case to

    “maintain the status quo by allowing” continuance of acts that were “probably” unlawful);

    California Steel Indus., Inc., 745 F. Supp. 3d at 1304 (holding that governments have “no

    legitimate interest” in collecting unlawful duties); see also United States v. MacDonald, 916 F.2d

    766, 772 (2d Cir. 1990) (en banc) (“[L]aw enforcement agents may not create their own

    exigencies ‘through illegal conduct.’”) (quoting United States v. Allard, 634 F.2d 1182, 1187

    (9th Cir. 1980)). To conclude otherwise would eviscerate any incentive to comply with the law.

           2.      The Court should set aside agency actions implementing the IEEPA Tariffs.

           In evaluating agency action, this Court’s “standard of review is provided by the

    Administrative Procedure Act (“APA”)….” Gilda Indus., Inc. v. United States, 622 F.3d 1358,

    1363 (Fed. Cir. 2010) (citing 28 U.S.C. § 2640(e) (“In any civil action not specified in this

    section, the Court of International Trade shall review the matter as provided in section 706 of

    title 5.”)). Under that standard, the Court will “hold unlawful and set aside agency action …

    found to be (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

    law….” 5 U.S.C. § 706(2).

           Although “[a]n inadequately supported rule ... need not necessarily be vacated,” here,

    “‘the seriousness of the order’s deficiencies’” counsel in favor of vacatur. Nat’l Org. of

    Veterans’ Advocs., Inc. v. Sec'y of Veterans Affs., 260 F.3d 1365, 1380 (Fed. Cir. 2001) (quoting

    Allied–Signal, Inc. v. United States Nuclear Regulatory Comm’n, 988 F.2d 146, 150, 151 (D.C.

    Cir. 1993) & A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1492 (D.C. Cir. 1995)). Every agency

    action to implement the IEEPA Tariffs stems from the arrogation of executive authority where

    no statutory authority exists in the first instance, and the President’s emergency declaration does


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    not meet the statutory predicates for the exercise of emergency powers at all. Thus, this is not an

    instance where an agency “can provide a reasonable explanation for its decision” on remand to

    correct an APA violation. Id. Insofar as the agency cannot provide a reasonable explanation for

    its actions implementing the IEEPA Tariff Orders, it has violated the APA. See, e.g., Nat’l

    Council of Nonprofits v. Off. of Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *11

    (D.D.C. Feb. 3, 2025) (“[F]urthering the President’s wishes cannot be a blank check for [an

    agency] to do as it pleases. The APA requires a rational connection between the facts, the

    agency’s rationale, and the ultimate decision.”).

           For these reasons, U.S. Customs and Border Protection’s agency actions to implement the

    IEEPA Tariffs, including the Cargo Systems Messaging Service instructions to importers, should

    be vacated as arbitrary and capricious and not in accordance with law.

           3.      The Court should declare the IEEPA Tariffs unlawful.

           The Court should also grant the States declaratory relief. See 28 U.S.C. § 2643(c)(1)

    (providing this Court generally may “order any other form of relief that is appropriate in a civil

    action, including, but not limited to, declaratory judgments”); see also 28 U.S.C. §§ 1585,

    2201(a) (authority of district courts to issue declaratory relief). Indeed, to merit declaratory

    relief, the States need only show that the IEEPA tariffs are unlawful—they do not need to show

    irreparable injury. See Steffel v. Thompson, 415 U.S. 452, 471–72 (1974) (“[T]he Court of

    Appeals was in error when it ruled that a failure to demonstrate irreparable injury —a traditional

    prerequisite to injunctive relief, having no equivalent in the law of declaratory judgments—

    precluded the granting of declaratory relief.”) (internal citations omitted); PGBA, LLC v. United

    States, 389 F.3d 1219, 1228 n.6 (Fed. Cir. 2004) (“[I]rreparable injury must be shown in a suit

    for an injunction, but not in an action for declaratory relief.”) (quoting Perez v. Ledesma, 401

    U.S. 82, 123 (1971)). The States have shown that the IEEPA Tariffs are unlawful, and the Court

    should so declare.


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                                         V.        CONCLUSION

           The Court should grant summary judgment to the States on all counts of their complaint

    and enter judgment in their favor (i) entering a permanent injunction against the United States, its

    agencies, and its officers implementing the IEEPA tariffs, (ii) setting aside the agency actions

    implementing the IEEPA Tariffs, and (iii) declaring the IEEPA Tariff Orders unlawful.

     DATED: May 13, 2025

     Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE WITH WORD LIMIT

           Pursuant to the Court’s order (ECF 18), I certify that this supplemental brief, including

    headings, footnotes, and quotations (but excluding the table of contents, table of authorities,

    counsel’s signature blocks, and this certificate), does not exceed 10,000 words.

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